              Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 1 of 17




 1                                                           HONORABLE DAVID G. ESTUDILLO

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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA

 9
     GABRIELLA SULLIVAN, et al.,
10                                                           No. 3:22-cv-05403-DGE
                                         Plaintiffs,
11
                                                             INTERVENOR-DEFENDANT
12          v.                                               ALLIANCE FOR GUN
                                                             RESPONSIBILITY’S AMENDED
13   BOB FERGUSON, et al.,                                   ANSWER TO PLAINTIFF’S FIRST
                                                             AMENDED COMPLAINT
14                                     Defendants.
15

16

17
            Defendant-Intervenor Alliance for Gun Responsibility (the “Alliance”) amends its answer
18

19   to the First Amended Complaint for Declaratory and Injunctive Relief (the “Amended

20   Complaint”) of Plaintiffs Gabriella Sullivan, et al. (“Plaintiffs”) as follows:

21          The unnumbered paragraph at the outset of the Amended Complaint contains
22
     characterizations of this action and legal conclusions or argument to which no response is
23
     required. To the extent a response is required, the Alliance denies the same.
24

25

26

27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                               PACIFICA LAW GROUP LLP
     COMPLAINT - 1                                                                      1191 SECOND AVENUE
                                                                                              SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
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              Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 2 of 17




 1                                          INTRODUCTION

 2          1.      The Alliance admits that one way in which Engrossed Substitute Senate Bill 5078
 3   (“ESSB 5078”) regulates large-capacity magazines (“LCMs”) is by prohibiting as a gross
 4
     misdemeanor any person in Washington from manufacturing, importing, distributing, selling, or
 5
     offering to sell an LCM, with exceptions for (1) the armed forces of Washington State or the
 6
     United States; (2) law enforcement agencies in Washington; or (3) out-of-state sale or transfer by
 7

 8   a licensed firearms dealer. Except as expressly admitted above, Paragraph 1 consists of legal

 9   conclusions or argument to which no response is required. To the extent a further response is

10   required, the Alliance denies the same.
11          2.      Paragraph 2 consists of legal conclusions or argument to which no response is
12
     required. To the extent a response is required, the Alliance denies the same.
13
            3.      The first sentence in Paragraph 3 contains legal conclusions or argument to which
14
     no response is required. To the extent a response is required, the Alliance denies the same. The
15

16   Alliance denies all remaining allegations in Paragraph 3.

17          4.      Paragraph 4 consists of legal conclusions or argument to which no response is

18   required. To the extent a response is required, the Alliance denies the same.
19
            5.      Paragraph 5 consists of legal conclusions or argument to which no response is
20
     required. To the extent a response is required, the Alliance denies the same.
21
            6.      Paragraph 6 consists of legal conclusions or argument to which no response is
22
     required. To the extent a response is required, the Alliance denies the same.
23

24          7.      Paragraph 7 consists of characterizations of this action or legal conclusions or

25   argument to which no response is required. To the extent a response is required, the Alliance
26   denies the same.
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
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              Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 3 of 17




 1                                    JURISDICTION AND VENUE

 2          8.      Paragraph 8 consists of legal conclusions or argument to which no response is
 3   required.
 4
            9.      Paragraph 9 consists of characterizations of this action or legal conclusions or
 5
     argument to which no response is required. To the extent a response is required, the Alliance
 6
     denies the same.
 7

 8          10.     Admit.

 9                                                PARTIES

10          11.      The Alliance lacks sufficient knowledge or information to form a belief about the
11   truth of the allegations in Paragraph 11, which shall have the effect of a denial.
12
            12.     The Alliance lacks sufficient knowledge or information to form a belief about the
13
     truth of the allegations in Paragraph 12, which shall have the effect of a denial.
14
            13.     The Alliance lacks sufficient knowledge or information to form a belief about the
15

16   truth of the allegations in Paragraph 13, which shall have the effect of a denial.

17          14.     The fourth sentence of Paragraph 14 consists of characterizations of this action to

18   which no response is required. To the extent a response is required, the Alliance denies the same.
19   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
20
     remaining allegations in Paragraph 14, which shall have the effect of a denial.
21
            15.     The fifth sentence of Paragraph 15 consists of characterizations of this action to
22
     which no response is required. To the extent a response is required, the Alliance denies the same.
23

24   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

25   remaining allegations in Paragraph 15, which shall have the effect of a denial.

26

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                                                                                             SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                  SEATTLE, WASHINGTON 98101-3404
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              Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 4 of 17




 1          16.     The first sentence of Paragraph 16 consists of characterizations of this action to

 2   which no response is required. To the extent a response is required, the Alliance denies the same.
 3
     The second sentence of Paragraph 16 consists of legal conclusions or argument to which no
 4
     response is required. To the extent a response is required, the Alliance denies the same.
 5
            17.     The first sentence of Paragraph 17 consists of characterizations of this action to
 6
     which no response is required. To the extent a response is required, the Alliance denies the same.
 7

 8   The second sentence of Paragraph 17 consists of legal conclusions or argument to which no

 9   response is required. To the extent a response is required, the Alliance denies the same.
10          18.     The first sentence of Paragraph 18 consists of characterizations of this action to
11
     which no response is required. To the extent a response is required, the Alliance denies the same.
12
     The second sentence of Paragraph 18 consists of legal conclusions or argument to which no
13
     response is required. To the extent a response is required, the Alliance denies the same.
14

15          19.     The first sentence of Paragraph 19 consists of characterizations of this action to

16   which no response is required. To the extent a response is required, the Alliance denies the same.

17   The second sentence of Paragraph 19 consists of legal conclusions or argument to which no
18   response is required. To the extent a response is required, the Alliance denies the same.
19
            20.     The first sentence of Paragraph 20 consists of characterizations of this action to
20
     which no response is required. To the extent a response is required, the Alliance denies the same.
21
     The second sentence of Paragraph 20 consists of legal conclusions or argument to which no
22

23   response is required. To the extent a response is required, the Alliance denies the same.

24          21.     The first sentence of Paragraph 21 consists of characterizations of this action to

25   which no response is required. To the extent a response is required, the Alliance denies the same.
26

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              Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 5 of 17




 1   The second sentence of Paragraph 21 consists of legal conclusions or argument to which no

 2   response is required. To the extent a response is required, the Alliance denies the same.
 3
            22.     The first sentence of Paragraph 22 consists of characterizations of this action to
 4
     which no response is required. To the extent a response is required, the Alliance denies the same.
 5
     The second sentence of Paragraph 22 consists of legal conclusions or argument to which no
 6
     response is required. To the extent a response is required, the Alliance denies the same.
 7

 8          23.     The first sentence of Paragraph 23 consists of characterizations of this action to

 9   which no response is required. To the extent a response is required, the Alliance denies the same.
10   The second sentence of Paragraph 23 consists of legal conclusions or argument to which no
11
     response is required. To the extent a response is required, the Alliance denies the same.
12
                                        FACTUAL ASSERTIONS
13
            24.     The Alliance admits that Governor Jay Inslee signed ESSB 5078 into law on
14
     March 23, 2022. The remaining allegations in Paragraph 24 relate to cited bill and statutory
15

16   provisions, which speak for themselves. The Alliance denies all allegations and characterizations

17   in Paragraph 24 inconsistent with the cited provisions.

18          25.     Paragraph 25 contains allegations related to statutory provisions, which speak for
19
     themselves. The Alliance denies all allegations and characterizations in Paragraph 25
20
     inconsistent with the cited provisions. The remainder of Paragraph 25 consists of legal
21
     conclusions or argument to which no response is required. To the extent a response is required,
22
     the Alliance denies the same.
23

24          26.     Paragraph 26 consists of legal conclusions or argument to which no response is

25   required. To the extent a response is required, the Alliance denies the same.
26

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     COMPLAINT - 5                                                                    1191 SECOND AVENUE
                                                                                            SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                 SEATTLE, WASHINGTON 98101-3404
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                Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 6 of 17




 1             27.   Paragraph 27 consists of legal conclusions or argument to which no response is

 2   required. To the extent a response is required, the Alliance denies the same.
 3
               28.   The bill and statutory provisions cited in Paragraph 28 speak for themselves. The
 4
     Alliance denies all allegations and characterizations in Paragraph 28 inconsistent with the cited
 5
     provisions.
 6
               29.   Admitted.
 7

 8             30.   Paragraph 30 contains allegations related to statutory provisions, which speak for

 9   themselves. The remaining allegations in Paragraph 30 are subjective characterizations and do
10   not require a response by way of factual pleading, but to the extent a response is required, the
11
     Alliance denies the same. The Alliance specifically denies that “large capacity magazine” is a
12
     “misnomer” and that LCMs are “more accurately described as ‘standard capacity magazines.’”
13
               31.   The Alliance lacks sufficient knowledge or information to form a belief about the
14

15   truth of the allegations in Paragraph 31, which shall have the effect of a denial.

16             32.   The publication cited in Paragraph 32 speaks for itself. The Alliance denies all

17   allegations, inferences, and characterizations in Paragraph 32 inconsistent with the cited
18   publication. To the extent Paragraph 32 alleges facts as to the veracity of the publication’s
19
     findings or conclusions, or as to any inferences drawn therefrom, the Alliance lacks sufficient
20
     knowledge or information to form a belief as to their truth, which shall have the effect of a
21
     denial.
22

23             33.   The Alliance admits that LCMs exist in the United States and that some firearms

24   are able to accept LCMs. The remaining allegations in Paragraph 33 are subjective

25   characterizations and do not require a response by way of factual pleading, but to the extent a
26
     response is required, the Alliance denies the same.
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     COMPLAINT - 6                                                                     1191 SECOND AVENUE
                                                                                             SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                  SEATTLE, WASHINGTON 98101-3404
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                Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 7 of 17




 1             34.   The first sentence of Paragraph 34 consists of subjective characterizations and

 2   does not require a response by way of factual pleading, but to the extent a response is required,
 3
     the Alliance denies the same. The second sentence of Paragraph 34 consists of legal conclusions
 4
     or argument to which no response is required, but to the extent a response is required, the
 5
     Alliance denies the same.
 6
               35.   The first sentence of Paragraph 35 is denied. The publication cited in the second
 7

 8   sentence of Paragraph 35 speaks for itself. The Alliance denies all allegations, inferences, and

 9   characterizations in Paragraph 35 inconsistent with the cited publication.
10             36.   The Alliance denies the first sentence in Paragraph 36. The publication cited in
11
     the second sentence of Paragraph 36 speaks for itself. The Alliance denies all allegations,
12
     inferences, and characterizations in Paragraph 36 inconsistent with the cited publication. The
13
     third and fourth sentences of Paragraph 36 consist of subjective characterizations and
14

15   hypothetical opinions that do not require a response by way of factual pleading, but to the extent

16   a response is required, the Alliance denies the same. The Alliance specifically denies Paragraph

17   36’s assertion or suggestion that LCMs are not commonly used in violent crimes in the United
18   States.
19
               37.   The publications cited in Paragraph 37 speak for themselves. The Alliance denies
20
     all allegations, inferences, and characterizations in Paragraph 37 inconsistent with the cited
21
     publications. Paragraph 37 also consists of subjective characterizations that do not require a
22

23   response by way of factual pleading, but to the extent a response is required, the Alliance denies

24   the same. The Alliance specifically denies Paragraph 37’s assertion or suggestion that LCMs are

25   rarely used in mass shootings. The Alliance specifically denies Paragraph 37’s assertion or
26
     suggestion that each year more Americans are killed or injured in lightning strikes than in mass
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
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     COMPLAINT - 7                                                                      1191 SECOND AVENUE
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     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
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                                                                                      FACSIMILE: (206) 245.1750
                 Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 8 of 17




 1   shootings. The Alliance specifically denies Paragraph 37’s assertion or suggestion that state

 2   restrictions on LCMs do not “have any impact at all on mass shootings.”
 3
            38.      The first sentence of Paragraph 38 is denied. The Alliance specifically denies
 4
     Paragraph 38’s assertion that LCM regulations are “recent phenomena.” The Alliance
 5
     specifically denies Paragraph 38’s assertion or suggestion that laws restricting firing capacity of
 6
     firearms did not “exist[] anywhere in the United States before the 1990s.” The remainder of
 7

 8   Paragraph 38 consists of legal conclusions or argument to which no response is required, but to

 9   the extent a response is required, the Alliance denies the same.
10          39.      The publication cited in Paragraph 39 speaks for itself. The Alliance denies all
11
     allegations, inferences, and characterizations in Paragraph 39 inconsistent with the cited
12
     publication. The Alliance specifically denies Paragraph 39’s assertion or suggestion that LCMs
13
     have been common in America (or anywhere else in the world) for hundreds of years. The
14

15   Alliance admits that, to the extent weapons capable of firing more than ten rounds existed before

16   the 20th century, they were experimental, unusual, impractical, unreliable, prohibitively

17   expensive, or otherwise not analogous to modern firearms equipped with LCMs—and thus
18   unlikely to necessitate government regulation. The Alliance admits that there is only one known
19
     example in existence of the Wheellock rifle that was made in Germany around 1580 and was
20
     capable of firing 16 shots. The Alliance lacks sufficient knowledge or information to form a
21
     belief about the truth of the remaining allegations in Paragraph 39, which shall have the effect of
22

23   a denial.

24          40.      The publications cited in Paragraph 40 speak for themselves. The Alliance denies

25   all allegations, inferences, and characterizations in Paragraph 40 inconsistent with the cited
26
     publications. The Alliance admits that, to the extent weapons capable of firing more than ten
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
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     COMPLAINT - 8                                                                   1191 SECOND AVENUE
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     Case No. 3:22-cv-05403-DGE                                                SEATTLE, WASHINGTON 98101-3404
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                 Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 9 of 17




 1   rounds existed before the 20th century, they were experimental, unusual, impractical, unreliable,

 2   prohibitively expensive, or otherwise not analogous to modern firearms equipped with LCMs—
 3
     and thus unlikely to necessitate government regulation. For example, the Alliance admits that in
 4
     1718 James Puckle patented a nine-round, giant, tripod-mounted “Puckle gun,” which was never
 5
     widely produced, difficult and expensive to manufacture, unreliable, and ridiculed by
 6
     contemporaries for its impracticality; users would have to crank or rotate the cylinder by hand
 7

 8   between shots. The Alliance lacks sufficient knowledge or information to form a belief about the

 9   truth of the remaining allegations in Paragraph 40, which shall have the effect of a denial.
10          41.      The publications cited in Paragraph 41 speak for themselves. The Alliance denies
11
     all allegations, inferences, and characterizations in Paragraph 41 inconsistent with the cited
12
     publication. The Alliance specifically denies Paragraph 41’s assertion or suggestion that LCMs
13
     were common in America in the founding generation. The Alliance admits that, to the extent
14

15   weapons capable of firing more than ten rounds existed before the 20th century, they were

16   experimental, unusual, impractical, unreliable, prohibitively expensive, or otherwise not

17   analogous to modern firearms equipped with LCMs—and thus unlikely to necessitate
18   government regulation. The Alliance admits that Lewis and Clark’s Girandoni air rifle had a 22-
19
     round capacity—but it required more than a thousand strokes of a hand pump to charge, only
20
     1,500 of them were ever manufactured, and even fewer than that ever made it to the United
21
     States. The Alliance admits that a correspondence between Joseph Belton and the Continental
22

23   Congress exists, but denies that there are any historical records showing that his rifle was ever

24   actually tested or supplied. The Alliance lacks sufficient knowledge or information to form a

25   belief about the truth of the remaining allegations in Paragraph 41, which shall have the effect of
26
     a denial.
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
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     Case No. 3:22-cv-05403-DGE                                                 SEATTLE, WASHINGTON 98101-3404
                                                                                    TELEPHONE: (206) 245.1700
                                                                                    FACSIMILE: (206) 245.1750
             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 10 of 17




 1          42.     The Alliance denies the first sentence of Paragraph 42. The publication cited in

 2   Paragraph 42 speaks for itself. The Alliance denies all allegations, inferences, and
 3
     characterizations in Paragraph 42 inconsistent with the cited publication. The Alliance
 4
     specifically denies Paragraph 42’s assertion or suggestion that LCMs were common in the
 5
     United States in the 19th century. The Alliance admits that, to the extent weapons capable of
 6
     firing more than ten rounds existed before the 20th century, they were experimental, unusual,
 7

 8   impractical, unreliable, prohibitively expensive, or otherwise not analogous to modern firearms

 9   equipped with LCMs—and thus unlikely to necessitate government regulation. The Alliance
10   admits that the rare Ellis-Jennings flintlock rifle of 1821 could fire four blackpowder shots, but
11
     the user had to slide the action rearward to fire each subsequent shot, and very few were
12
     produced. The Alliance specifically denies that 19th-century firearms capable of firing multiple
13
     rounds without reloading were nearly as dangerous as modern firearms equipped with LCMs.
14

15   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

16   remaining allegations in Paragraph 42, which shall have the effect of a denial.

17          43.     The Alliance denies the first and second sentences of Paragraph 43. The
18   publications cited in Paragraph 43 speak for themselves. The Alliance denies all allegations,
19
     inferences, and characterizations in Paragraph 43 inconsistent with the cited publications. The
20
     Alliance specifically denies Paragraph 43’s assertion or suggestion that LCMs were
21
     “commonplace” in the United States “[a]round the time of the Civil War” and that LCMs “were
22

23   commonly possessed already in the 1860s.” The Alliance admits that, to the extent weapons

24   capable of firing more than ten rounds existed before the 20th century, they were experimental,

25   unusual, impractical, unreliable, prohibitively expensive, or otherwise not analogous to modern
26
     firearms equipped with LCMs—and thus unlikely to necessitate government regulation. The
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
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     COMPLAINT - 10                                                                  1191 SECOND AVENUE
                                                                                           SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                SEATTLE, WASHINGTON 98101-3404
                                                                                   TELEPHONE: (206) 245.1700
                                                                                   FACSIMILE: (206) 245.1750
               Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 11 of 17




 1   Alliance specifically denies that 19th-century firearms capable of firing more than ten rounds

 2   without reloading were nearly as dangerous as modern firearms equipped with LCMs. For
 3
     example, unlike modern semi-automatic firearms with detachable LCMs, the Winchester 1866
 4
     and 1873 rifles had tubular magazines that were permanently affixed to the barrel of the gun and
 5
     required users to operate a lever after firing each shot to load a new round into the chambers—a
 6
     time-consuming process. The Alliance lacks sufficient knowledge or information to form a belief
 7

 8   about the truth of the remaining allegations in Paragraph 43, which shall have the effect of a

 9   denial.
10             44.   The first and second sentences of Paragraph 44 consist of legal conclusions or
11
     argument to which no response is required. To the extent a response is required, the Alliance
12
     denies the same. The two publications cited in Paragraph 44 speak for themselves. The Alliance
13
     denies all allegations, inferences, and characterizations in Paragraph 44 inconsistent with the
14

15   cited publications. Paragraph 44 also consists of subjective characterizations and hypothetical

16   opinions that do not require a response by way of factual pleading, but to the extent a response is

17   required, the Alliance denies the same. The Alliance specifically denies Paragraph 44’s assertion
18   or suggestion that regulations of LCMs do not reduce gun violence or increase public safety.
19
               45.   The Alliance denies the first sentence of Paragraph 45. The publication cited in
20
     Paragraph 45 speaks for itself. The Alliance denies all allegations, inferences, and
21
     characterizations in Paragraph 45 inconsistent with the cited publication. The remaining
22

23   allegations in Paragraph 45 are subjective characterizations and hypothetical opinions and do not

24   require a response by way of factual pleading, but to the extent a response is required, the

25   Alliance denies the same.
26

27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                             PACIFICA LAW GROUP LLP
     COMPLAINT - 11                                                                  1191 SECOND AVENUE
                                                                                           SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                SEATTLE, WASHINGTON 98101-3404
                                                                                   TELEPHONE: (206) 245.1700
                                                                                   FACSIMILE: (206) 245.1750
             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 12 of 17




 1          46.     The court decision cited in Paragraph 46 speaks for itself. The Alliance denies all

 2   allegations, inferences, and characterizations in Paragraph 46 inconsistent with the cited
 3
     decision. The Alliance lacks sufficient knowledge or information to form a belief as to the truth
 4
     of the remaining allegations in Paragraph 46, which shall have the effect of a denial.
 5
            47.     The website cited in Paragraph 47 speaks for itself. The Alliance denies all
 6
     allegations, inferences, and characterizations in Paragraph 47 inconsistent with the cited website.
 7

 8   The Alliance lacks sufficient knowledge or information to form a belief about the truth of the

 9   remaining allegations in Paragraph 47, which shall have the effect of a denial.
10          48.     The Alliance denies the first sentence of Paragraph 48. The publications cited in
11
     Paragraph 48 speak for themselves, and the Alliance denies all allegations, inferences, and
12
     characterizations in Paragraph 48 inconsistent with the cited publications. The Alliance lacks
13
     sufficient knowledge or information to form a belief as to truth of the allegations in the second
14

15   and fourth textual sentences in Paragraph 48, which shall have the effect of a denial. The

16   Alliance admits that ESSB 5078 has exceptions for, inter alia, law enforcement agencies in

17   Washington. The remaining allegations in Paragraph 48 consist of legal conclusions or argument
18   or subjective characterizations to which no response is required, but to the extent a response is
19
     required, the Alliance denies the same.
20
            49.     Paragraph 49 consists of subjective characterizations and hypothetical opinion to
21
     which no response is required, but to the extent a response is required, the Alliance denies the
22

23   same. The Alliance specifically denies Paragraph 49’s assertion that “violent criminals will not

24   be meaningfully constrained by Washington’s magazine ban” and its suggestion that ESSB 5078

25   will not reduce gun violence or improve public safety.
26

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     COMPLAINT - 12                                                                   1191 SECOND AVENUE
                                                                                            SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                 SEATTLE, WASHINGTON 98101-3404
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                                                                                    FACSIMILE: (206) 245.1750
             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 13 of 17




 1          50.     The website cited in Paragraph 50 speaks for itself. The Alliance denies all

 2   allegations, inferences, and characterizations in Paragraph 50 inconsistent with the cited website.
 3
     The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
 4
     remaining allegations in Paragraph 50, which shall have the effect of a denial.
 5
            51.     Paragraph 51 consists of legal conclusions and argument to which no response is
 6
     required. To the extent a response is required, the Alliance denies the same.
 7

 8                STATEMENT OF FACTS RELATING TO GABRIELLA SULLIVAN

 9          52.     The Alliance incorporates its responses as set forth above.

10          53.     The Alliance lacks sufficient knowledge or information to form a belief about the
11   truth of the allegations in Paragraph 53, which shall have the effect of a denial.
12
            54.     The Alliance lacks sufficient knowledge or information to form a belief about the
13
     truth of the allegations in Paragraph 54, which shall have the effect of a denial.
14
            55.     The Alliance lacks sufficient knowledge or information to form a belief about the
15

16   truth of the allegations in Paragraph 55, which shall have the effect of a denial.

17          56.     The Alliance admits that both the Sig Sauer P365 handgun and Smith & Wesson

18   M&P Sport .22 rifle are compatible with both LCMs and smaller-capacity magazines. The
19
     Alliance lacks sufficient knowledge or information to form a belief about the truth of the
20
     remaining allegations in Paragraph 56, which shall have the effect of a denial.
21
            57.     The Alliance lacks sufficient knowledge or information to form a belief about the
22
     truth of the allegations in Paragraph 57, which shall have the effect of a denial.
23

24          58.     The Alliance lacks sufficient knowledge or information to form a belief about the

25   truth of the allegations in Paragraph 58, which shall have the effect of a denial.
26

27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                               PACIFICA LAW GROUP LLP
     COMPLAINT - 13                                                                     1191 SECOND AVENUE
                                                                                              SUITE 2000
     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
                                                                                      TELEPHONE: (206) 245.1700
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             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 14 of 17




 1          59.     The Alliance lacks sufficient knowledge or information to form a belief about the

 2   truth of the allegations in the first and third sentences of Paragraph 59, which shall have the
 3
     effect of a denial. The second sentence of Paragraph 59 consists of legal conclusions and
 4
     argument to which no response is required, but to the extent a response is required, the Alliance
 5
     denies the same.
 6
                  STATEMENT OF FACTS RELATING TO RAINIER ARMS, LLC
 7

 8          60.     The Alliance incorporates its responses as set forth above.

 9          61.     The Alliance lacks sufficient knowledge or information to form a belief about the

10   truth of the allegations in Paragraph 61, which shall have the effect of a denial.
11          62.     The Alliance lacks sufficient knowledge or information to form a belief about the
12
     truth of the allegations in Paragraph 62, which shall have the effect of a denial.
13
            63.     The Alliance lacks sufficient knowledge or information to form a belief about the
14
     truth of the allegations in Paragraph 63, which shall have the effect of a denial.
15

16          64.     Paragraph 64 contains characterizations of this action and legal conclusions and

17   argument to which no response is required. To the extent a response is required, the Alliance

18   denies the same. The Alliance lacks sufficient knowledge or information to form a belief about
19
     the truth of the remaining allegations in Paragraph 64, which shall have the effect of a denial.
20
             STATEMENT OF FACTS RELATING TO PLAINTIF DANIEL MARTIN
21
            65.     The Alliance incorporates its responses as set forth above.
22
            66.     The Alliance lacks sufficient knowledge or information to form a belief about the
23

24   truth of the allegations in Paragraph 66, which shall have the effect of a denial.

25          67.     The Alliance lacks sufficient knowledge or information to form a belief about the

26   truth of the allegations in Paragraph 67, which shall have the effect of a denial.
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                               PACIFICA LAW GROUP LLP
     COMPLAINT - 14                                                                     1191 SECOND AVENUE
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     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
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             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 15 of 17




 1          68.     The Alliance lacks sufficient knowledge or information to form a belief about the

 2   truth of the allegations in Paragraph 68, which shall have the effect of a denial.
 3
            69.     The Alliance lacks sufficient knowledge or information to form a belief about the
 4
     truth of the allegations in Paragraph 69, which shall have the effect of a denial.
 5
            70.     The Alliance lacks sufficient knowledge or information to form a belief about the
 6
     truth of the allegations in Paragraph 70, which shall have the effect of a denial.
 7

 8          71.     The Alliance lacks sufficient knowledge or information to form a belief about the

 9   truth of the allegations in Paragraph 71, which shall have the effect of a denial.
10          72.     The first sentence of Paragraph 72 contains legal conclusions and argument to
11
     which no response is required. To the extent a response is required, the Alliance denies the same.
12
     The Alliance lacks sufficient knowledge or information to form a belief about the truth of the
13
     remaining allegations in Paragraph 72, which shall have the effect of a denial.
14

15                                             COUNT ONE

16          73.     The Alliance incorporates its responses as set forth above.

17          74.     Admitted.
18          75.     The allegations in Paragraph 75 constitute legal conclusions or argument to which
19
     no response is required. To the extent a response is required, the Alliance denies the same.
20
            76.     The allegations in Paragraph 76 constitute legal conclusions or argument to which
21
     no response is required. To the extent a response is required, the Alliance denies the same.
22

23          77.     The allegations in Paragraph 77 constitute legal conclusions or argument to which

24   no response is required. To the extent a response is required, the Alliance denies the same.

25          78.     Denied.
26
            79.     Denied.
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                               PACIFICA LAW GROUP LLP
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     Case No. 3:22-cv-05403-DGE                                                   SEATTLE, WASHINGTON 98101-3404
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             Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 16 of 17




 1           80.     Denied.

 2                                         PRAYER FOR RELIEF
 3
             The Prayer for Relief portion of the Amended Complaint makes no allegation to which an
 4
     answer is required. To the extent a response is required, the Alliance denies that Plaintiffs are
 5
     entitled to the requested relief or any other relief.
 6
                                             OMNIBUS DENIAL
 7

 8           Unless otherwise specifically admitted above, the Alliance denies each and every

 9   remaining allegation in the Amended Complaint.
10                             DEFENSES AND AFFIRMATIVE DEFENSES
11
             The Alliance asserts the following defenses:
12
             1. Plaintiffs fail to state a claim upon which relief can be granted.
13
             The Alliance incorporates by reference and adopts as its own any defense asserted by any
14

15   other Defendant, and reserves the right to amend this Answer to assert additional defenses and

16   affirmative defenses as additional facts are obtained through investigation and discovery.

17                                ALLIANCE’S PRAYER FOR RELIEF
18           WHEREFORE, having fully answered the Amended Complaint and having asserted
19
     defenses and affirmative defenses, the Alliance respectfully requests the following relief:
20
             1.      That the Amended Complaint be dismissed with prejudice and that no relief be
21
     granted to Plaintiffs;
22

23           2.      That the Court enter final judgment in the Alliance’s favor;

24           3.      That the Court award the Alliance its reasonable expenses, costs, and attorney

25   fees incurred in defending this action as authorized by law or equity; and
26
             4.      All other relief as the Court deems just and equitable.
27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                                 PACIFICA LAW GROUP LLP
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                                                                                              SUITE 2000
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           Case 3:22-cv-05403-DGE Document 78 Filed 11/07/22 Page 17 of 17




 1         DATED this 7th day of November, 2022.

 2                                                 PACIFICA LAW GROUP LLP
 3
                                                   s/ Kai A. Smith
 4                                                 Zachary J. Pekelis, WSBA #44557
                                                   Kai A. Smith, WSBA #54749
 5
                                                   Attorneys for Intervenor-Defendant
 6                                                 Alliance for Gun Responsibility

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27   INTERVENOR ALLIANCE FOR GUN RESPONSIBILITY’S
     AMENDED ANSWER TO FIRST AMENDED                                      PACIFICA LAW GROUP LLP
     COMPLAINT - 17                                                            1191 SECOND AVENUE
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